                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION


CARPENTERS DISTRICT COUNCIL                    )
OF KANSAS CITY PENSION FUND, a                 )
Trust Fund, et al.                             )
                                               )
                        Plaintiffs,            )       Case No. 18-00004-CV-W-ODS
                                               )
vs.                                            )
                                               )
INSTALL SOLUTIONS LLC,                         )
                                               )
                        Defendant.             )



                                JUDGMENT IN A CIVIL CASE
       ___     Jury Verdict. This action came before the Court for a trial by jury.

       X       Decision by Court. This action came to trial or hearing before the Court.
               The issues have been determined and a decision has been made.


       IT IS ORDERED AND ADJUDGED that pursuant to the Order entering Consent

Judgment, Doc. 25, entered by the Honorable Ortrie D. Smith on August 15, 2018, judgment in

Plaintiffs’ favor and against Defendant in the amount of $435,395.02 for delinquent

contributions for the period March 6, 2017 through January 14, 2018, interest in the amount of

$21,524.33, liquidated damages in the amount of 85,164.25, and $16,867.37 for attorney’s fees

and costs, for a total sum of $558,950.97. Said total sum shall be paid to Plaintiffs within thirty

days of the entry of this judgment in accordance with the terms of the parties’ consent judgment.


Date: August 20, 2018                         PAIGE WYMORE-WYNN
                                              Acting Clerk of Court

                                              s/ RENEA MATTHES MITRA
                                              By: Renea Matthes Mitra, Courtroom Deputy



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